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                                                                                    ID# 2021-0089181-CV
                                                                                    # EFILED IN OFFICE
                                                                                   CLERK OF SUPERIOR COURT
                                                                                    COBB COUNTY, GEORGIA
                                                                                         21105179
                       IN THE SUPERIOR COURT OF COBB COUNTY                          Ann B. Harris - 56
                                  STATE OF GEORGIA                                 JUL 09, 2021 02:10 PM


ANTHONY WATERS,                                 *           CIVIL ACTION            Connie Taylor, Cierk of Supe rior Court
                                                                                                   Cobb Countsy, Georgia
                                                *           FILE NO.
        PLAINTIFF,                              *
                                                *
VS.                                             *
                                                *
SOMA INTIMATES, LLC                             *
                                                *
        DEFENDANT.                              *


                         COMPLAINT FOR PERSONAL INJURIES

        COMES NOW Plaintiff ANTHONY WATERS and files this Complaint against

Defendant SOMA INTIMATES, LLC and for cause thereof respectfully shows unto the Court

the following:

                                               1.

       Plaintiff ANTHONY WATERS is a resident of Albany, Georgia.

                                               2.

       Defendant SOMA INTIMATES, LLC (hereinafter “Soma”) is a foreign limited liability

company having its principal office address at 11215 Metro Parkway, Ft. Myers, Florida 33966.

                                               3.

       Defendant Soma owns and operates a chain of retail stores selling womens’

undergarments and loungewear for profit.

                                               4.

       Defendant Soma can be served with a copy of this Complaint and Summons by serving

its Registered Agent for service of process: Corporate Creations Network, Inc. at 2985 Gordy

Parkway, 1st Floor, Marietta, Cobb County, Georgia 30066.




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                                                 5.

        This Court has appropriate jurisdiction over this matter.

                                                 6.

        Venue is proper in this Court.

                                                 7.

        On August 10,2019, Plaintiff Anthony Waters accompanied his wife into a Soma

Intimates store located in Macon, Georgia.

                                                 8.

        The Plaintiff was an invitee in the Defendant’s retail store and as an invitee was entitled

to presume that the Defendant was maintaining its store in a condition safe for shoppers such as

himself.

                                                 9.

        Under Georgia law, an owner or occupier of land is liable for injuries suffered by those

upon the premises for the owner or occupier’s failure to exercise ordinary care in keeping the

premises and approaches safe, not merely reasonably safe. See O.C.G.A. §53-3-1.

                                                 10.

        While shopping inside the Defendant’s retail store. Plaintiff Anthony Waters was injured

when a framed picture fell from a wall or shelf and struck him upon his head and face.
                                                                                                        1
                                                 11.

        The Plaintiff had not touched the framed picture before it fell. The framed picture

apparently fell because it was not properly affixed to the wall or secured in any other fashion to

prevent it from falling.




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                                                 12.

        The framed picture which fell knocked the Plaintiffs glasses off, caused a knot to rise on

his forehead Mid caused swelling to his left eye.

                                                 13.

        The Plaintiff had recently had surgery to his left eye and was fearful that the blow could

have undone the recent surgical repair to that eye.

                                                14.

        Plaintiff Anthony Waters sought immediate medical attention at the Emory University

Hospital emergency room where he reported experiencing head pain, feeling dazed, and pain in

his left eye. He was diagnosed at the hospital as suffering from a scalp hematoma, abrasion, and

closed-head injury without loss of consciousness and was discharged with instructions to seek

follow-up care.

                                                15.

       Plaintiff Anthony Waters sought follow-up care with a neurologist when he continued

having symptoms of dizziness, ataxic gait, short-term memory loss, headaches, nausea, blurred

vision, and photophobia.

                                                16.

       The Plaintiffs neurologist diagnosed Mr. Waters as suffering from concussion,

prescribed monthly injections for relief of headaches, and ordered vestibular rehabilitation.

                                                17.                                                        [
       Plaintiff Anthony Waters was employed by the United States Postal Service working as a

cashier at the retail counter. His continued mental confusion and dizziness left him unable to

properly calculate and make change to customers and to balance his transactions at the end of the




                                                                                                       i
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day. As a result of his impairments, the Plaintiff was unable to perform his job duties and was

forced to resign, losing wages in the tens of thousands of dollars.

                                                 18.

        The Plaintiff incurred expenses for his medical treatment, and continues to incur such

expenses, so far in excess of $5,000.00.

                                                 19.
                                                                                                        i
        The Plaintiffs injuries incurred on August 10,2019 were directly and proximately

caused by the negligence Defendant Soma in that it:

        a)     Failed to perform reasonable inspections of its premises so as to discover that the
                framed picture which struck the Plaintiff was not properly secured to the wall or
                shelf;
        b)     Failed to properly secure the framed picture when it was first hung on the wall or
               shelf;
        c)     Failed to put in place a reasonable inspection policy so that dangers and defects
               upon the premises could be timely discovered and corrected before invitees could
               be injured;
        d)     Failed to follow its own inspection policies or guidelines so as to prevent a danger
               or defect upon the premises from causing injury to the invitee Plaintiff;
        e)     Failed to warn the Plaintiff that its store had not been reasonable inspected or the
               framed picture properly secured to prevent its falling; and,
       f)      Such other and further negligence as the evidence at trial shall show.
                                                20.

       Prior to his being injured in the Defendant’s retail store, Plaintiff Anthony Waters was in

excellent physical condition and lead an active lifestyle. Following his injury, he had difficulty

sleeping at night, experienced anxiety, had difficulty walking and speaking, experienced a loss of

enjoyment of life, was unable to participate in recreational and other pleasurable activities, was




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unable to work and earn income, and suffered daily with headaches, dizziness, and cognitive

impairment.

                                                21.

        The Plaintiff is entitled to be reimbursed for his medical expenses and his lost wages and

to compensation for his general pain and suffering.



        WHEREFORE, Plaintiff prays:

        a) That Summons issue and Defendant be served as provided by law;

        b) That he have and recover from Defendant compensation for his personal injuries, pain

           and suffering, mental and physical, past, present and future;

        c) That he have and recover from Defendant compensation for his lost wages and

           medical expenses, past and future;

        d) That all costs of this action be assessed to Defendant;

       e) For a trial by jury;

       f) For such other and further relief as the Court or jury deems just and proper.



This 9th day of July, 2021.

                                                 LAW OFFICE OF PAUL R. BENNETT



                                             3\:/s/Paul R. Bennett
                                                Paul R. Bennett
                                                Georgia Bar No. 051629

812 Broadway, P.O. Box 11
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Phone (706) 327-7571
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